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                             UNITED STATES DISTRICTCOURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

JACQUELINE HUSKEY and RIIAN WYNN,
on behalf of themselves and all others similarly
situated,                                                 Case No. 22-cv-7014

               Plaintiffs,                                Hon. Jeffrey I. Cummings

       v.                                                 Magistrate Judge Sheila M. Finnegan

STATE FARM FIRE & CASUALTY
COMPANY,

               Defendant.


            AGREED MOTION FOR ENTRY OF CONFIDENTIALITY ORDER

       Defendant State Farm Fire and Casualty Company (“State Farm”), by its undersigned

counsel, respectfully moves this Court pursuant to Federal Rule of Civil Procedure 26(c) for entry

of the Agreed Confidentiality Order attached hereto as Exhibit 1. All parties of record have agreed

to the Agreed Confidentiality Order attached as Exhibit 1. Pursuant to the Court’s standing order

concerning proposed orders, State Farm has also submitted a copy of the proposed Agreed

Confidentiality Order to the Court via e-mail. In addition, pursuant to the instructions contained in

the Court’s Model Confidentiality Order, Form L.R. 26.2, a redline showing the parties’ proposed

modifications to the Model Order, as appropriate for the circumstances of this case, is attached

hereto as Exhibit 2.

Dated: November 7, 2023                               Respectfully submitted,

                                                      /s/     Sarah E. Finch
                                                      Sarah E. Finch
                                                      Patricia Brown Holmes
                                                      Joseph A. Cancila, Jr.
                                                      Lauren Abendshien
                                                      RILEY SAFER HOLMES & CANCILA LLP
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                                        Casualty Company




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